                       Case 18-50946     Doc 28     Filed 09/10/18      Page 1 of 8



                             IN THE UNITED STATES BANKRUPTCY COURT
                               MIDDLE DISTRICT OF NORTH CAROLINA
                                     WINSTON-SALEM DIVISION


In re:                                                  )       Chapter 11
                                                        )
Product Quest Manufacturing, LLC, et al., 1             )       Case No. 18- 50946
                                                        )       (Joint Administration Pending)
                                                        )
                   Debtors.                             )
                                                        )

               MOTION FOR ADMISSION OF PRISCA M. KIM, PRO HAC VICE

         Pursuant to Rule 2090-1(b) of the Local Rules of Practice and Procedure for the United

States Bankruptcy Court for the Middle District of North Carolina ("Local Bankruptcy Rules")

and Rule 83.1(d) of the Local Rules of Practice and Procedure for the United States District Court

for the Middle District of North Carolina ("Local Civil Rules"), Madison Capital Funding LLC, as

administrative agent ("Agent") and its local counsel, Matthew P. Weiner of the law firm Poyner

Spruill LLP, hereby move for the admission to this Court of Prisca M. Kim, Esq. ("Movant") of

the law firm Goldberg Kohn Ltd., to appear pro hac vice as counsel for Agent. Movant does

hereby declare:

         1.        Movant is a member in good standing authorized to practice in the State of Illinois

(admitted November 10, 2011, State Bar No. 6306327), the State of California (admitted

December 3, 2015, State Bar No. 307368) and has been admitted to the District Courts for the

Northern District of Illinois and Northern District of Indiana.




1
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401); (iii) Scherer Labs
International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v) JBTRS, L.L.C. (1249); and (vi)
PQ Real Estate LLC (4569). The Debtors’ service address is: 2865 N. Cannon Blvd., Kannapolis, North
Carolina 28083.


9932897v1 9/7/2018 3:35 PM                                                                        4975.375
                  Case 18-50946       Doc 28     Filed 09/10/18    Page 2 of 8



       2.      Pursuant to Rule 83.1 of the Local Civil Rules, Movant will be assisted in this

matter by local counsel, Matthew P. Weiner of the law firm Poyner Spruill LLP, who is a member

in good standing of the United States District Court for the Middle District of North Carolina.

       3.      Movant has not been disciplined by any court or administrative body, there are no

currently pending disciplinary proceedings against Movant, and Movant has not resigned while

any disciplinary proceedings were pending in the past.

       4.      Contact information for the respective counsels is as follows:

               Prisca M. Kim
               Goldberg Kohn Ltd.
               55 East Monroe Street, Suite 3300
               Chicago, Illinois 60603
               Email: prisca.kim@goldbergkohn.com
               Telephone: 312-201-4000
               Facsimile: 312-863-7868
               Illinois State Bar No.: 6306327
               California State Bar No.: 307368
               Attorney for Madison Capital Funding LLC, as Agent

               For local counsel:

               Matthew P. Weiner
               Poyner Spruill LLP
               301 Fayetteville Street, Suite 1900
               Raleigh, North Carolina 27601
               Email: mweiner@poynerspruill.com
               Telephone: (919) 783-2954
               Facsimile: (919) 783-1075
               NC State Bar No.: 37128
               Local Civil Rule 83.1 Counsel for Madison Capital Funding LLC, as Agent

       5.      In the past three years, to the best of her knowledge, Movant has not appeared

before the United States Bankruptcy Court for the Middle District of North Carolina. In the past

three years, to the best of her knowledge, Movant has neither appeared nor applied to appear pro

hac vice before any other court in the State of North Carolina.




                                                -2-
                 Case 18-50946       Doc 28    Filed 09/10/18     Page 3 of 8



       6.     Movant has read and is familiar with the Local Bankruptcy Rules, the Local Civil

Rules, the Federal Rules of Bankruptcy Procedure, the Federal Rules of Civil Procedure, and the

Federal Rules of Evidence.

       7.     Movant hereby submits to the disciplinary jurisdiction of this Bankruptcy Court for

any misconduct in connection with any matters for which Movant is appearing.

       8. The Declaration of the Applicant supporting this Motion is attached hereto as Exhibit
A.

       WHEREFORE, counsel prays the Court as follows:

       1.     That this Motion be granted for the purposes set forth herein and that Movant be

specially permitted to appear in this action on behalf of Madison Capital Funding LLC, as Agent;

and

       2.     For such other and further relief as the Court may deem just and proper.




                                              -3-
                 Case 18-50946      Doc 28    Filed 09/10/18   Page 4 of 8



This the 10th day of September, 2018.

                                         /s/Matthew P. Weiner
                                         Matthew P. Weiner
                                         Poyner Spruill LLP
                                         301 Fayetteville Street, Suite 1900
                                         Raleigh, North Carolina 27601
                                         Email: mweiner@poynerspruill.com
                                         Telephone: (919) 783-2954
                                         Facsimile: (919) 783-1075
                                         NC State Bar No.: 37128
                                         Local Civil Rule 83.1 Counsel for Madison Capital
                                         Funding LLC, as Agent

                                         -and-

                                           /s/ Prisca M. Kim
                                         Prisca M. Kim
                                         Goldberg Kohn Ltd.
                                         55 East Monroe Street, Suite 3300
                                         Chicago, Illinois 60603
                                         Email: prisca.kim@goldbergkohn.com
                                         Telephone: 312-201-4000
                                         Facsimile: 312-863-7868
                                         Illinois State Bar No.: 6306327
                                         California State Bar No.: 307368
                                         Attorney for Madison Capital Funding LLC, as
                                         Agent




                                             -4-
                  Case 18-50946        Doc 28     Filed 09/10/18      Page 5 of 8



                                 CERTIFICATE OF SERVICE


        I, Matthew P. Weiner, certify that I am, and at all times hereinafter mentioned was, more
than eighteen (18) years of age; and that on this date, I served a copy of the foregoing Motion for
Admission Pro Hac Vice for Prisca M. Kim on the following parties in the manner indicated:

 Product Quest Manufacturing, LLC                    John Paul H. Cournoyer
 330 Carswell Ave.                                   John A. Northen
 Holly Hill, FL 32117                                Northen Blue, LLP
 Debtor                                              1414 Raleigh Road
 (via US Mail)                                       Chapel Hill, NC 27517
                                                     Debtor’s Counsel
                                                     (via ECF)
 William P. Miller
 Bankruptcy Administrator, MDNC
 101 South Edgeworth Street
 Greensboro, NC 27401
 (via ECF)



        I certify under penalty of perjury that the foregoing is true and correct.

Dated: September 10, 2018
                                                       POYNER SPRUILLLLP


                                               By:     /s/ Matthew P. Weiner
                                                       Matthew P. Weiner
                                                       NC Bar No. 37128
                                                       Post Office Box 1801
                                                       Raleigh, NC 27602
                                                       Telephone: (919) 783-2954
                                                       Facsimile: (919) 783-1075
                                                       Email: mweiner@poynerspruill.com

                                                       Local Civil Rule 83.1 Counsel for Madison
                                                       Capital Funding LLC, as Agent




                                                 -5-
Case 18-50946   Doc 28    Filed 09/10/18   Page 6 of 8



                    Exhibit A




                         -6-
                   Case 18-50946        Doc 28      Filed 09/10/18      Page 7 of 8



                     IN THE UNITED STATES BANKRUPTCY COURT
                       MIDDLE DISTRICT OF NORTH CAROLINA
                             WINSTON-SALEM DIVISION


In re:                                                  )       Chapter 11
                                                        )
Product Quest Manufacturing, LLC, et al., 2             )       Case No. 18- 50946
                                                        )       (Joint Administration Pending)
                                                        )
                Debtors.                                )
                                                        )

                             DECLARATION OF PRISCA M. KIM

         PRISCA M. KIM declares as follows:

         1.     I am a member of the law firm of Goldberg Kohn Ltd. with an address of 55 East

Monroe Street, Suite 3300, Chicago, Illinois 60603. My telephone number is (312) 201-4000

and my email address is prisca.kim@goldbergkohn.com.

         2.     I am a member in good standing of the State Bar of Illinois (No. 6306327 –

admitted November 4, 1999), the State Bar of California (No. 307368 – admitted December 3,

2015), and am admitted to practice before the District Courts for the Northern District of Illinois

and Northern District of Indiana.

         3.     I am in good standing in all courts where I have been admitted.

         4.     I have not been the subject of any disciplinary action by any court or

administrative body, there are currently no pending disciplinary proceedings against me, and I

have not resigned while any disciplinary proceedings were pending against me in the past.




2
  The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification
number, are: (i) Ei LLC (6099); (ii) Product Quest Manufacturing, LLC (4401); (iii) Scherer Labs
International, LLC (5258); (iv) Product Quest Logistics, LLC (6199); (v) JBTRS, L.L.C. (1249); and (vi)
PQ Real Estate LLC (4569). The Debtors’ service address is: 2865 N. Cannon Blvd., Kannapolis, North
Carolina 28083.


                                                  -7-
                  Case 18-50946        Doc 28     Filed 09/10/18     Page 8 of 8



       5.      My appearance in this matter will be in association with Matthew P. Weiner of

the law firm Poyner Spruill LLP.

I declare under penalty of perjury that the foregoing is true and correct.

Executed this 10th day of September, 2018.


                                               /s/ Prisca M. Kim
                                              Prisca M. Kim




                                                 -8-
